
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and respondent's Answer.
Claimant seeks $3,550.00 for providing service of process for the Bureau of Child Support Enforcement, a facility of respondent in Berkeley and Harrison *242Counties. The documentation for these services was not processed for payment within the appropriate fiscal year; therefore, claimant has not been paid.
In its Answer, respondent admits the validity of the claim as well as the amount, and states that there were sufficient funds expired in the appropriate fiscal year from which the invoice could have been paid.
Accordingly, the Court makes an award to claimant in the amount of $3,550.00.
Award of $3,550.00.
